

Komatsu v New York City Human Resources Admin. (2021 NY Slip Op 03410)





Komatsu v New York City Human Resources Admin.


2021 NY Slip Op 03410


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kern, J.P., Moulton, González, Scarpulla, JJ. 


Index No. 100054/17 Appeal No. 13982 Case No. 2020-02038 

[*1]Towaki Komatsu, Plaintiff-Appellant,
vNew York City Human Resources Administration, Defendant-Respondent.


Towaki Komatsu, appellant pro se.
James E. Johnson, Corporation Counsel, New York&nbsp;(Julie Steiner of counsel), for respondent.



Order, Supreme Court, New York County (Lyle E. Frank, J.), entered February 27, 2020, which granted defendant's motion to dismiss the complaint and denied plaintiff's cross motion to amend the complaint to add the City of New York, unanimously affirmed, without costs.
Defendant, the New York City Human Resources Administration (HRA), is a City agency and is thus not a proper party to this action (NY City Charter § 396; Funt v Human Resources Admin. of the City of N.Y., 68 AD3d 490 [1st Dept 2009], lv denied 15 NY3d 911 [2010]).
Plaintiff's motion to substitute the City for HRA was properly denied, as it was already decided against him in a prior order in this action (see Carmona v Mathisson, 92 AD3d 492, 493 [1st Dept 2012]). In any event, the complaint fails to state a claim against HRA, as the allegations do not implicate the agency (see Mosaic Caribe, Ltd. v AllSettled Group, Inc., 117 AD3d 421, 422 [1st Dept 2014]).
We have considered plaintiff's contentions about judicial impropriety and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








